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                                                            EXHIBIT A
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                                           July 19, 2019

 Via Certified Mail – Return Receipt Requested

 Just Brands USA, Inc.
 7351 Wiles Road, Suite #105
 Coral Springs, FL 33067

 SSGI Financial Services, Inc.
 763 NW 83rd Drive
 Coral Springs, FL 33071

 Re:    Notice And Demand Letter Pursuant To U.C.C. §§ 2-313, 2-314, 2-607;
        New York’s General Business Law §§ 349, 350; And
        The Florida Deceptive And Unfair Trade Practices Act

 To Whom It May Concern:

         This letter serves as a preliminary notice and demand for corrective action by Just Brands
 USA, Inc. (“Just Brands”) and SSGI Financial Services, Inc. (“SSGI”) pursuant to U.C.C.
 § 2-607(3)(a) concerning breaches of express and implied warranties related to our client, Jesse
 Gaddis, and a class of all similarly situated purchasers (the “Class”) of JustCBD branded
 products (collectively, the “CBD Products”) claiming that the products purportedly contain
 “25mg CBD,” “50mg CBD,” “65mg CBD,” “100mg CBD,” “200mg CBD,” “250mg CBD,”
 “360mg CBD,” “500mg CBD,” “550mg CBD,” “750mg CBD,” “1000mg CBD,” “1500mg
 CBD,” or “3000mg CBD” (collectively, the “CBD Claims”). This letter also serves as a notice
 of violation of New York’s General Business Law § 349; New York’s General Business Law
 § 350; the Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. Ann. §§ 501.201, et seq.;
 and all other applicable federal and state laws.

        Our client purchased “JustCBD Liquid Honey Tincture” and “JustCBD Rainbow Ribbons
 Gummies.” Prior to purchasing his JustCBD branded products, Mr. Gaddis reviewed
 information about the products, including the quantity of CBD purportedly contained in each.
 Mr. Gaddis also reviewed the accompanying labels, disclosures, warranties, and marketing
 materials, and understood them as representations and warranties by Just Brands and SSGI that
 the Products contained the quantities of CBD advertised. Mr. Gaddis relied on these
 representations and warranties in deciding to purchase his CBD Products over comparable
 products. But these representations were false, and Mr. Gaddis did not receive the quantity of
 CBD he purchased. Independent lab testing reveals that the true quantity of CBD in the CBD
 Products is only a small fraction of these representations. Accordingly, Just Brands and SSGI
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 breached express and implied warranties made to our client and the Class and violated the
 consumer protection statutes reference above. See U.C.C. §§ 2-313, 2-314.

        On behalf of our client and the Class, we hereby demand that Just Brands and SSGI
 immediately (1) issue a mandatory recall of the CBD Products, and (2) make full restitution to all
 purchasers of the CBD Products of all purchase money obtained from sales thereof.

        We also demand that Just Brands and SSGI preserve all documents and other evidence
 which refer or relate to any of the above-described practices including, but not limited to, the
 following:

        1.      All documents concerning the design, packaging, labeling, and
                manufacturing process for the CBD Products;

        2.      All tests of the CBD Products, whether performed by Just Brands and
                SSGI or any third-party entities;

        3.      All documents concerning the pricing, advertising, marketing, and/or sale
                of the CBD Products;

        4.      All communications with customers involving complaints or comments
                concerning the CBD Products;

        5.      All documents concerning communications with any retailer involved in
                the marketing or sale of the CBD Products;

        6.      All documents concerning communications with federal or state regulators
                concerning the CBD Products; and

        7.      All documents concerning the total revenue derived from sales of the CBD
                Products.

        If you contend that any statement in this letter is inaccurate in any respect, please provide
 us with your contentions and supporting documents immediately upon receipt of this letter.

         Please contact me right away if you wish to discuss an appropriate way to remedy this
 matter. If I do not hear from you promptly, I will take that as an indication that you are not
 interested in doing so.


                                                       Sincerely,




                                                       Frederick J. Klorczyk III
